 Case 1:16-cv-01037-IDD Document 59 Filed 02/02/17 Page 1 of 1 PageID# 431



          IN THE UNITED STATES DISTRICT COURT FOR THE
                  EASTERN DISTRICT OF VIRGINIA

                        Alexandria Division


MELISSA DIRETTO,                    )
                                    )
    Plaintiff,                      )
                                    )
          v.                        )       1:16cv1037(JCC/IDD)
                                    )
COUNTRY INN & SUITES BY             )
CARLSON, et al.,                    )
                                    )
    Defendants.                     )

                                O R D E R

          For the reasons stated in the accompanying Memorandum

Opinion, it is hereby ORDERED that

          1)           Plaintiff’s Rule 72(a) Objection [Dkt. 32]

is OVERRULED;

          2)           Defendants’ Partial Motion to Dismiss [Dkt.

40] is GRANTED IN PART.     Counts I and II of Plaintiff’s Amended

Complaint are DISMISSED WITH PREJUDICE.        Defendants’ Motion is

DENIED in all other respects; and

          3)           The Clerk of the Court shall forward copies

of this Order to all counsel of record.

          It is so ORDERED.

                                               /s/
February 2, 2017                         James C. Cacheris
Alexandria, Virginia             UNITED STATES DISTRICT COURT JUDGE
